Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 1 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 2 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 3 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 4 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 5 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 6 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 7 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 8 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 9 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 10 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 11 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 12 of 13
Case 1:99-cr-00052-MR   Document 482   Filed 04/12/07   Page 13 of 13
